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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                 x
UNITED STATES OF AMERICA                           :

              - v. -                               :    CORRECTED PRELIMINARY
                                                        ORDER OF FORFEITURE AS TO
JAMES ZHONG,                                       :    SPECIFIC PROPERTY AND
                                                        SUBSTITUTE ASSETS/
         Defendant.                                :    MONEY JUDGMENT

                                                   :    22 Cr. 606 (PGG)
----------------------------------                 x

              WHEREAS, on or about November 4, 2022, JAMES ZHONG (the “Defendant”),

was charged in a one-count Information, 22 Cr. 606 (PGG) (the “Information”), with wire fraud,

in violation of Title 18, United States Code, Sections 1343 and 2 (Count One);

              WHEREAS, on or about November 4, 2022, the Defendant pled guilty to Count

One of the Information, pursuant to a plea agreement with the Government;

              WHEREAS, on or about November 4, 2022, the Court entered a Consent

Preliminary Order of Forfeiture as to Specific Property and Substitute Assets/Money Judgment

imposing, inter alia, a forfeiture money judgment against the Defendant in the amount of

$42,747,425.95 in United States currency (the “Money Judgment”), representing the value of

certain proceeds traceable to the commission of the offense charged in Count One of the

Information (the “Preliminary Order of Forfeiture”);

              WHEREAS, the Defendant agreed to make a payment in the amount of $400,000

in United States currency to the Government towards the satisfaction of the Money Judgment (the

“Payment”);

              WHEREAS, the Preliminary Order of Forfeiture incorrectly identified the United

States Marshals Service as the agency authorized to accept and deposit the Payment; and
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                WHEREAS, the Preliminary Order of Forfeiture is to be corrected only as to the

corrected agency, and the Preliminary Order of Forfeiture should in all other respects remain

unchanged and fully incorporated herein;

                NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

                1.      The Payment shall be made by wire transfer to the United States Department

of Treasury pursuant to the wire instructions to be provided to the Defendant by the Government.

                2.      The United States Department of Treasury is authorized to deposit the

payments on the Money Judgment in the Treasury Assets Forfeiture Fund, and the United States

shall have clear title to such forfeited property.

                3.      The Court shall retain jurisdiction to enforce this Corrected Preliminary

Order of Forfeiture as to Specific Property and Substitute Assets/Money Judgment, and to amend

it as necessary, pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure.

SO ORDERED:


                                                             December 6, 2022
HONORABLE PAUL G. GARDEPHE                                   DATE
UNITED STATES DISTRICT JUDGE
